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 In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                   No. 20-1367V


 PAUL SHUPING                                     Chief Special Master Corcoran
 as father and natural guardian of minor
 child, T.S.,
                                                  Filed: February 12, 2021
                    Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                   Respondent.


                SCHEDULING ORDER-SPECIAL PROCESSING UNIT

      A telephonic status conference was held on February 12, 2021. Leah Durant
appeared on behalf of Petitioner, and Meghan Murphy appeared on behalf of
Respondent.

      During the call, Respondent’s counsel confirmed that Respondent had already
completed a review of this case and intends to concede that Petitioner is entitled to
compensation. Respondent’s counsel agreed to file a Rule 4(c) Report within 45 days.

       Petitioner’s counsel thereafter agreed to file updated medical records as they
become available. Petitioner’s counsel noted that Petitioner will have a claim for out-of-
pocket expenses. Petitioner’s counsel confirmed that this case does not involve a
Medicaid lien. Petitioner’s counsel agreed to file a status report, as described below,
within 45 days.

      Accordingly, the following is ORDERED:

      •    Petitioner shall file a status report, by no later than Monday, March 29,
           2021, updating me on the parties’ damages discussions. The status
           report shall indicate the date by which Petitioner provided, or intends to
           provide, a damages demand to Respondent.

      •    Respondent shall file, by no later than Monday, March 29, 2021, a Rule
           4(c) Report.
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      Any questions about this order or about this case generally may be directed to
OSM staff attorney Patrick Rodefeld at (202) 357-6370 or
Patrick_Rodefeld@cfc.uscourts.gov.

IT IS SO ORDERED.
                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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